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                                   8   NVIDIA CORPORATION, THE BOARD OF
                                       DIRECTORS OF NVIDIA CORPORATION,
                                   9   THE NVIDIA 401(k) PLAN BENEFITS
                                       COMMITTEE (incorrectly named and sued as
                                  10   THE 401(k) BENEFITS PLAN COMMITTEE
                                       OF NVIDIA CORPORATION)
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                                                                     UNITED STATES DISTRICT COURT
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                                  13                               NORTHERN DISTRICT OF CALIFORNIA
                                  14                                        (OAKLAND DIVISION)
                                  15

                                  16   CRISTINA TOBIAS, ANTHONY                     Case No. 4:20-cv-06081-JST
                                       BRIGGS, ANN MACDONALD and
                                  17                                                DEFENDANTS’ RESPONSE TO
                                       DAVID CALDER, individually and on
                                       behalf of all others similarly situated,     PLAINTIFFS’ SUPPLEMENTAL
                                  18                                                BRIEFING REGARDING MOTION TO
                                                             Plaintiffs,            DISMISS PLAINTIFFS’ FIRST
                                  19                                                AMENDED COMPLAINT
                                  20           vs.

                                  21   NVIDIA CORPORATION, THE
                                       BOARD OF DIRECTORS OF NVIDIA
                                  22   CORPORATION, THE 401(K) BENEFITS
                                       PLAN COMMITTEE OF NVIDIA
                                  23   CORPORATION, and JOHN
                                       DOES 1-30,
                                  24
                                                             Defendants.
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                                       DEFENDANTS’ RESPONSE TO PLAINTIFFS’ SUPPLEMENTAL BRIEFING REGARDING MOTION TO DISMISS
                                       PLAINTIFFS’ FIRST AMENDED COMPLAINT; Case No: 4:20-cv-06081-JST
                                       7123181.7
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                                   1           None of the decisions identified in Plaintiffs’ supplemental briefing alter the conclusion that

                                   2   Defendants’ Motion should be granted. Plaintiffs mischaracterize Hughes v. Northwestern Univ., 63

                                   3   F.4th 615 (7th Cir. 2023) (Hughes II), downplay the holdings from recent Circuit-level orders,

                                   4   overstate the impact of their cherry-picked district court decisions, and ignore numerous orders issued

                                   5   since June 3, 2022 that granted motions to dismiss and undermine their claims. The FAC should be

                                   6   dismissed in its entirety.

                                   7       A. Plaintiffs mischaracterize the significance of Hughes and Forman.

                                   8           Plaintiffs inaccurately claim that Hughes II is “instructive because it involves claims nearly

                                   9   identical to the instant matter”. Dkt. 85, p. 2. The allegations in Hughes II are fundamentally different

                                  10   from the allegations in this case. Hughes II allowed the investment-related claims to proceed based

                                  11   on allegations that the Northwestern plan offered “retail” share class investments where identical and
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                                  12   less expensive institutional shares were available. Hughes II, 63 F.4th at 622. Plaintiffs do not allege
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                                  13   that the Plan ever offered retail versus institutional shares, rendering their share class allegations

                                  14   distinguishable from Hughes II. Dkt. 51, ¶¶ 88, 89. Similarly, in Hughes II, multiple recordkeepers

                                  15   were paid fees that included uncapped revenue sharing. Hughes II, 63 F.4th at 621-22. The court

                                  16   allowed the claims to proceed because the plaintiffs alleged that the “quality or type” of services

                                  17   provided by the plan’s recordkeepers were comparable to other recordkeepers in the market. Id. at

                                  18   632. Unlike in Hughes II, the Plan had a single recordkeeper that was paid, net of revenue sharing, a

                                  19   fixed per capita fee that ranged between $52 and $63 annually during the relevant period, and

                                  20   NVIDIA, not the Plan’s participants, has paid the Plan’s recordkeeping fees directly since April 1,

                                  21   2018. Dkt. 86, p. 3. Moreover, Plaintiffs fail to identify the services the Plan’s recordkeeper provided,

                                  22   let alone allege that other recordkeepers provided the same services for a lower price.

                                  23           Despite its distinguishable holdings, Plaintiffs argue that Hughes II is helpful to their claims

                                  24   because it briefly cites Kong v. Trader Joe’s Co., 2022 WL 1125667 (9th Cir. Apr. 15, 2022) and

                                  25   decisions from the Second, Third, and Eighth Circuits that allowed certain claims to proceed. Dkt.

                                  26   85, p. 2 (citing Hughes II, 2023 WL 2607921, *15). Trader Joe’s is an unpublished decision that

                                  27   contains little analysis, and its share class holdings have been overshadowed by recent authority that

                                  28   differentiates between allegations involving retail versus institutional shares, and allegations, like
                                                                                                                                              -1-
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                                   1   those here, where Plaintiffs do not allege that the Plan ever offered retail shares. See, e.g., Hughes II,

                                   2   63 F.4th at 636 (“plaintiffs’ share-class claim is special” because the plaintiffs alleged that the

                                   3   fiduciaries should have replaced “retail shares with institutional shares”); Forman v. TriHealth, 40

                                   4   F.4th 443, 450 (6th Cir. 2022).

                                   5           Regarding Forman, Plaintiffs claim that this decision did “not similarly interpret the Supreme

                                   6   Court [sic] Hughes decision”, “did not create a bright line rule…”, and is “distinguishable because

                                   7   the allegations of the instant case are far more robust than the allegations in [Forman] and its’ [sic]

                                   8   companion decision,” Smith v. CommonSpirit Health, 37 F.4th 1160 (6th Cir. 2022). Dkt. 85, p. 1, 3.

                                   9   Both Forman and CommonSpirit, in fact, support dismissal of Plaintiffs’ FAC because they concluded

                                  10   that allegations, like those Plaintiffs make here, are insufficient to state an imprudence claim when

                                  11   they are based on comparisons of actively managed funds to dissimilar indexed options, and attack
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                                  12   expense ratios alone. CommonSpirit, 37 F.4th at 1162, 1165-70, Forman, 40 F.4th at 449. And the
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                                  13   only claim in Forman that survived dismissal – the share class claim – is different from Plaintiffs’

                                  14   share class claim in this case because Plaintiffs do not allege that the Plan ever offered retail class

                                  15   shares over institutional shares. Forman, 40 F.4th at 450-53.

                                  16           Finally, Plaintiffs argue that Albert v. Oshkosh, 47 F.4th 570 (7th Cir. 2022) does not impact

                                  17   Defendants’ Motion because some courts have distinguished its holding. Dkt. 85, p. 3. The mere fact

                                  18   that Oshkosh may have been distinguished by other cases does not render its holdings inapplicable to

                                  19   this case. In any event, Plaintiffs allege “all recordkeepers provide the same level of service and costs

                                  20   are what differentiates them” but fail to address the services Fidelity provided. Dkt. 51, ¶¶ 122-25.

                                  21   Plaintiffs’ allegations are similar to the allegations that the court rejected in Oshkosh, which were also

                                  22   “devoid of allegations as to the quality or type of recordkeeping services the comparator plans

                                  23   provided.” Oshkosh, 47 F.4th at 579. And it is implausible to allege that all large recordkeeping firms

                                  24   provide the exact same services for every single plan across the country. These services and fee

                                  25   structures vary among plans based on a number of factors, including participant population, amount

                                  26   of assets under management, and services rendered for those fees. See, e.g., Dkt. 70, pp. 19:21-20:4.

                                  27       B. Sea World and Sutter Health are distinguishable.

                                  28           Plaintiffs claim that Coppel v. Sea World Parks, 2023 WL 2942462 (S.D. Cal. Mar. 22, 2023)
                                                                                                                                               -2-
                                       DEFENDANTS’ RESPONSE TO PLAINTIFFS’ SUPPLEMENTAL BRIEFING REGARDING MOTION TO DISMISS
                                       PLAINTIFFS’ FIRST AMENDED COMPLAINT; Case No: 4:20-cv-06081-JST
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                                   1   and In re Sutter Health ERISA Litigation, 2023 WL 1868865 (E.D. Cal. Feb. 9, 2023) support the

                                   2   plausibility of their claims. Dkt. 85, p. 4-6. These decisions are also distinguishable. Notably, in

                                   3   rendering its decision on the share class claims, See World specifically noted Judge Koh’s prior

                                   4   decision in this lawsuit, and differentiated the allegations in Sea World from Plaintiffs’ inadequate

                                   5   allegations in this case. Sea World, 2023 WL 2942462, *12 (“The two other cases the Sea World

                                   6   Defendants rely on are inapposite. In both cases, the courts dismissed the share class allegations

                                   7   because the plaintiffs merely alleged that lower cost shares were available”) (citing Tobias v. NVIDIA,

                                   8   2021 WL 4148706, *11 (N.D. Cal. Sept. 13, 2021); White v. Chevron, 2017 WL 2352137, *14 (N.D.

                                   9   Cal. May 31, 2017)). Further, the Sea World defendants argued that the plan could not include

                                  10   institutional class shares because of its pooled arrangement with a fund manager, which the court

                                  11   rejected. Sea World, 2023 WL 2942462, *11. While it is true that Sea World rejected the fiduciaries’
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                                  12   argument regarding revenue sharing, it did so because the plaintiffs alleged that the fiduciaries could
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                                  13   have moved to a non-pooled structure or negotiated for lower fees. Id. Plaintiffs make no such

                                  14   allegations here.

                                  15           Regarding the recordkeeping claims, Sea World considered allegations that the recordkeeping

                                  16   fees increased by 360% during the relevant period and ranged between $95 and $107. Id. at 13. Here,

                                  17   Plaintiffs acknowledge that the Plan’s fees decreased during the relevant period, from $63 to $52 per

                                  18   participant. Dkt. 51, ¶¶ 116, 131; Dkt. 70-20, p. 8. And although the court in Sea World was persuaded

                                  19   by the plaintiffs’ comparisons to a survey of other plans as a comparator to the fees, numerous other

                                  20   courts have rejected such a comparison, including Judge Koh’s well-reasoned decision in this case.

                                  21   See Tobias, 2021 WL 4148706, *15; see also CommonSpirit, 37 F.4th at 1169.

                                  22           Sutter Health is also distinguishable. In Sutter Health, the court concluded that the plaintiffs

                                  23   plausibly pleaded imprudence claims based on allegations involving the Sutter Health plan’s “Total

                                  24   Plan Cost” (i.e., a mix of investment and administrative costs), and detailed allegations regarding the

                                  25   Fidelity Freedom target date funds, including the funds’ investment performance, management team,

                                  26   and market factors involving the Fidelity Freedom Fund suite specifically. 2023 WL 1868865, *8.

                                  27   Plaintiffs make no similar allegations about the Challenged Funds in this case. Instead, Plaintiffs

                                  28   attack the Plan’s target date options, the T. Rowe Price suite, by comparing it to dissimilar passively
                                                                                                                                             -3-
                                       DEFENDANTS’ RESPONSE TO PLAINTIFFS’ SUPPLEMENTAL BRIEFING REGARDING MOTION TO DISMISS
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                                   1   managed alternatives and supposedly less expensive share classes (that did not offer revenue sharing),

                                   2   which are insufficient allegations as described in Defendants’ Motion and recent authority.

                                   3       C. The remaining decisions Plaintiffs cite fall short under the weight of recent authority.

                                   4           Plaintiffs largely ignore appellate decisions issued since June 3, 2022 and instead rely on any

                                   5   district court order that allowed certain claims to survive dismissal, despite differences in the factual

                                   6   allegations from those in this case. The vast majority of district court decisions issued since June 3,

                                   7   2022 in this area of litigation granted motions to dismiss. Dkt. 86, p. 8, n. 3. In any event, Defendants’

                                   8   supplemental briefing addressed a number of the decisions cited in Plaintiffs’ briefing. Dkt. 86, p. 7-

                                   9   8 (addressing Nohara v. Prevea Clinic, 2022 WL 3601567, *4 (E.D. Wis. 2022); Berkelhammer v.

                                  10   Auto. Data Processing, 2022 WL 3593975, *5 (D. N.J. Aug. 23, 2022); Garnick v. Wake Forest, 2022

                                  11   WL 4368188, *6 (M.D. N.C. 2022); Adams v. Dartmouth, No. 1:22-cv-00099 (D. N.H. Feb. 10,
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                                  12   2023)). The remaining decisions Plaintiffs cite, when considered in their entirety, do not support the
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                                  13   plausibility of Plaintiffs’ allegations. For example, Plaintiffs cite Rodriguez v. Hy-Vee for the

                                  14   proposition that Hy-Vee allowed recordkeeping claims to proceed but fail to note that that court

                                  15   rejected the use of the ICI Study that Plaintiffs rely on in this case and collected decisions finding the

                                  16   same. 2022 WL 16648825, *4-6 (S.D. Iowa Oct. 21, 2022). Similarly, Plaintiffs cite Lucero v. Credit

                                  17   Union Ret. Plan Ass’n, No. 1:22-cv-00099 (W.D. Wis. Mar. 9, 2023) to support the plausibility of

                                  18   their recordkeeping claims, but Lucero allowed the recordkeeping claims to proceed based on the

                                  19   “significant” difference in price between the fees and alleged comparators in that case. Dkt. 85, p. 7.

                                  20   In Lucero, the recordkeeping fees ranged from $235-271 per participant, which greatly exceeds the

                                  21   $52-$63 fees that the Plan/NVIDIA paid Fidelity. Dkt. 51, ¶¶ 116, 131; Dkt. 70-20, p. 8. Finally,

                                  22   Plaintiffs cite Coyer v. Univar Sol. USA, 2022 WL 4534791, *5 (N.D. Ill. Sept. 28, 2022) and Brown

                                  23   v. Mitre, No. 22-cv-10976 (D. Mass. Mar. 6, 2023), but they provide no analysis at all, other than that

                                  24   those courts allowed some claims to proceed. In sum, Plaintiffs’ supplemental briefing fails to

                                  25   identify any recent authority that alters the conclusion that Defendants’ Motion should be granted,

                                  26   and Plaintiffs’ FAC should be dismissed.

                                  27   DATED: April 18, 2023                               TRUCKER  HUSS, APC
                                  28                                                  By: /s/ Clarissa A. Kang
                                                                                                                                               -4-
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